        Case 1:21-cv-00258-JGK         Document 3       Filed 03/19/21     Page 1 of 1


                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

 GIUSEPPE ALESCIO,                                )
                                                  )
                       Plaintiff,                 )
                                                  )   Case No. 1:21-cv-00258-JGK
        v.                                        )
                                                  )
 ANWORTH MORTGAGE ASSET                           )
 CORPORATION, JOSEPH E. MCADAMS,                  )
 JOE E. DAVIS, ROBERT C. DAVIS, MARK              )
 S. MARON, LLYOD MCADAMS,                         )
 DOMINIQUE MIELLE, READY CAPITAL                  )
 CORPORATION, and RC MERGER                       )
 SUBSIDIARY, LLC,                                 )
                                                  )
                       Defendants.                )

                 PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff hereby voluntarily dismisses the above-captioned action (the “Action”). Defendants have

filed neither an answer nor a motion for summary judgment in the Action.

 Dated: March 19, 2021                           RIGRODSKY LAW, P.A.

                                           By: /s/ Timothy J. MacFall
                                               Seth D. Rigrodsky
                                               Timothy J. MacFall
                                               Gina M. Serra
                                               Vincent A. Licata
                                               825 East Gate Boulevard, Suite 300
                                               Garden City, NY 11530
                                               Telephone: (516) 683-3516
                                               Email: sdr@rl-legal.com
                                               Email: tjm@rl-legal.com
                                               Email: gms@rl-legal.com
                                               Email: vl@rl-legal.com

                                                 Attorneys for Plaintiff
